                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                      )     MATTICE/CARTER
                                               )
        v.                                     )     CASE NO. 4:09-CR-49
                                               )
 BOBBY SHETTERS                                )


                                             ORDER

        On April 22, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture, distribute, and

 possess with the intent to distribute five (5) grams or more of methamphetamine actual in

 violation of 21 USC §§ 846 and 841(b)(1)(B) in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment; (c) that a decision

 on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall

 remain in custody pending sentencing in this matter (Doc. 124). Neither party filed an objection

 within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;




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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 July 19, 2010, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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